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                       IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                     INDICTMENT

        Plaintiff,                              COUNT 1: 18 U.S.C. §§ 844(f)(l) and (f)(2),
                                                Arson of a Vehicle of an Organization
        vs.                                     Receiving Federal Funds;

  MICHAEL AUSTIN FORD,                          COUNT 2: 18 U.S.C. §§ 844(f)(l), Arson of
                                                a Vehicle of an Organization Receiving
        Defendant.                              Federal Funds.


                                                     Case: 2:24-cr-00048
                                                     Assigned To: Sam, David
                                                     Assign. Date: 2/20/2024
                                                     Description: USA v. Ford




      The Grand Jury Charges:

                                        COUNT 1
                              18 U.S.C. §§ 844(±)(1) and (f)(2)
              Arson of a Vehicle of an Organization Receiving Federal Funds

       On or about February 24, 2022, in the District of Utah,

                              MICHAEL AUSTIN FORD,

defendant herein, did maliciously damage and destroy, and attempt to maliciously damage

and destroy, by means of fire, a vehicle possessed and owned by an institution and
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organization receiving Federal :financial assistance, and created a substantial risk of injury

to any person; all in violation of 18 U.S.C. § 844(t)(l) and (f)(2).




                                          COUNT2
                               18 U.S.C. §§ 844(£)(1)
               Arson of a Vehicle of an Organization Receiving Federal Funds

       On or about April 7, 2023, in the District of Utah,

                                MICHAEL AUSTIN FORD,

defendant herein, did maliciously damage and destroy, and attempt to maliciously damage

and destroy, by means of fire, a vehicle possessed and owned by an institution and

organization receiving Federal financial assistance; all in violation of 18 U.S.C.

§ 844(t)(l).



                                                   A TRUE BILL:



                                                                /s/
                                                   FOREPERSON OF GRAND JURY


TRINA A. HIGGINS
United States Attorney



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MICHAEL J. T H O ~
Assistant United States Attorney


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